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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

                                                             CASE NO.: 1:20-CR-183-3

v.
                                                             HON. ROBERT J. JONKER
TY GERARD GARBIN,

               Defendant.


                   DEFENDANT TY GARBIN'S CORRECTED BRIEF IN SUPPORT
                    OF HIS MOTION FOR A VARIANCE UNDER 18 USC § 3553


I.     A downward variance is warranted because Mr. Garbin has demonstrated
       extraordinary acceptance of responsibility for his actions, viz., immediately
       cooperating with the government at the time of his arrest, pleading guilty relatively
       soon after arrest, and being the first and only defendant to plead guilty and cooperate
       with the government thus far. [3553(a)(1) factors – history and characteristics of the
       defendant].

                            Extraordinary Acceptance of Responsibility

       As the Government highlights in its sentencing memorandum and motion for a downward

departure, Mr. Garbin has demonstrated extraordinary acceptance of responsibility and provided

truly exceptional assistance to the Government in this case. (See Government Sentencing

Memorandum, ECF No 271, PageID 1526-1528; Government's Motion for a Downward

Departure, ECF No. 272, PageID 1533-1535).

       Mr. Garbin's acceptance of responsibility goes well beyond that ordinarily seen by

defendants who plead guilty. This is illustrated by his plea of guilty less than two months after he

was arrested, prior to even being indicted, and before the Government provided his lawyers with

the entirety of the Rule 16 discovery.
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        Post-Booker, extraordinary acceptance of responsibility is an appropriate basis for a

variance from the guideline range, even if it is no longer a basis for a guideline departure. See e.g.,

United States v. Gardellini, 545 F.3d 1089 (D.C. Cir. 2008) (The district court properly imposed

sentence of probation where the defendant was convicted of filing false income tax return, with

guidelines of 10 – 16 months, in part because defendant “cooperated with authorities and accepted

responsibility . . . to an extraordinary degree.”);

        In Mr. Garbin's case, his extraordinary acceptance of responsibility is also evident from the

words of Ty Garbin himself:1

           Your statement regarding the offense.

           I feel that the choices I made were wrong. During the course of this offense,
           I let my emotions get in the way of any rational thinking that could have been
           made. My choices not only effected myself and family, but they also may
           have added to the already unstable political environment. My actions set off
           multiple reactions that I could have never have predicted, and for that I am
           not only sorry, but ashamed of myself for making such choices.

                                     *       *            *

           I feel my safety, and family’s safety will be compromised for a long time. I
           feel that the victims of this conspiracy will have to worry about their safety
           as well.

                                     *       *            *

           I am ashamed of my actions, and the outcome of my actions.

                                     *       *            *

           Is there anything else you would like the Judge to know about you that
           has not already been discussed?

           Just that I am truly sorry for everything that has happened as a result of my
           offense.




1 Presentence Report, ¶ 83, pp 23 – 24.


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         Mr. Garbin then engaged in period of active cooperation with the Government that could

only be described as extraordinary – he gave at least three detailed proffers, answered numerous

follow up questions, and has already testified twice before a Grand Jury. He was repeatedly honest

and forthright, and acknowledged his participation and wrongdoing. Finally, he has signed Plea

and Cooperation agreements that require him to testify against any Co-defendants that proceed to

trial.

                                 Truly Extraordinary Cooperation

         Given that Mr. Garbin has provided the Government with the only insider account of what

transpired and has been and remains a key witness for the government in a case that has garnered

the nation's attention, Mr. Garbin’s cooperation goes far beyond "substantial" and is more fairly

described as extraordinary. It is difficult to find a comparable example of such cooperation in a

case of similar national importance.

         Yet, the Government has only requested its standard four-level departure for a person who

has testified in the grand jury, as if this were a run-of-the-mill federal case. The danger that Mr.

Garbin has placed himself in, and quite possibly his family, by cooperating cannot be understated.

In fact, Counsel for Mr. Garbin has already received a death threat related to Mr. Garbin's case

that the FBI is investigating and Counsel is not even close to the target that Mr. Garbin presents

for extremists, prison gangs, or someone out to make a name for themself. The danger is real and

will pervade everything Mr. Garbin does and everywhere he goes, and the Government

acknowledges as much in their Motion for Departure. (Government Motion for Downward

Departure, ECF No. 272, PageID 1535). Even so, the Government requests the same four-levels it

would if a person were to testify in the grand jury in a non-violent environmental crimes

prosecution, for instance.




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       Of course, this Court has the latitude to take the unique factors of Mr. Garbin's case and

his particular circumstances into account. It has the authority to either grant either a more

significant guideline departure under § 5K1.1 or a downward variance based on Mr. Garbin’s

substantial cooperation. Although primarily addressed in the context of a motion for a § 5K1.1

departure, it is also a proper consideration under 18 U.S.C. § 3553(a)(1) (history and characteristics

of the defendant). For example, Mr. Garbin's cooperation reflects a reduced likelihood of

recidivism and is a beneficial part of defendant’s history and character. See e.g., United States v.

Fernandez, 443 F.3d 19 (2nd Cir. 2006) (“We agree that in formulating a reasonable sentence a

sentencing judge must consider "the history and characteristics of the defendant" . . . and should

take under advisement... the contention that a defendant made efforts to cooperate, even if those

efforts did not yield a Government motion for a downward departure”).2 Finally, Mr. Garbin’s

sentence must reflect an individualized evaluation of the value and level of his cooperation3 –

which has been extraordinary.

II.    Because the Guidelines fail to account for the fact that Mr. Garbin is going to be
       particularly vulnerable to abuse in prison, given the nature of his cooperation and his
       diminutive frame, Mr. Garbin will be subject to a more restrictive confinement, and
       therefore, he will be unable to enroll in several BOP programs that would otherwise
       shorten his incarceration, the Court should grant him a downward variance.
       In fashioning a sentence tailored to Mr. Garbin's individual traits and case, Mr. Garbin's

cooperation and diminutive frame is particularly vulnerable to abuse in prison. Mr. Garbin’s




2 See also, United States v. Khoury, 62 F.3d 1138 (9th Cir. 1995) (court may depart downward
where government refuses to make §5K1.1 motion when government initially offered to do so and
where defendant's cooperation led to arrest of co-defendant); United States v. Treleaven, 35 F.3d
458 (9th Cir. 1994).

3 United States v. King, 53 F.3d 589, 590-92 (3d Cir. 1995) (When departing downward, court
must evaluate Defendant's cooperation on an individualized basis, and cannot engage in
mechanical reduction).



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cooperation is likely to paint a target on his back for prison gangs and other inmates – particularly

if he is sent to a USP. Koon v United States, 518 US 81, 111-12; 116 S Ct 2035 (1996) (Affirming

district court's authority to award a downward departure based on the "District Court's finding that

'the extraordinary notoriety and national media coverage of this case, coupled with the defendants'

status as police officers, make Koon and Powell unusually susceptible to prison abuse'").

       Pretrial confinement in this District typically involves fewer privileges, less freedom of

movement, and closer monitoring than a typical prison environment, which offers Mr. Garbin more

protection. However, the risks to Mr. Garbin's safety will undoubtedly increase in prison.

Therefore, Mr. Garbin will likely need to be housed in protective custody and face a far more

restrictive environment than the average inmate. He will likely have less access to rehabilitative

programming and endure a far more punitive sentence than other inmates. For example, there is a

very real chance that Mr. Garbin will be ineligible for the BOP's drug treatment, 500-hour drug

program, home detention, intermittent incarceration, minimum security designation, and

community confinement programs that are otherwise available to the general prison population.

As such, Mr. Garbin may end up serving a longer period of incarceration, in a more restrictive

setting, than he would if he did not cooperate in this case and was not so small in stature. Good

public policy augers in favor of reward pleading guilty and cooperating in a federal case rather

than disincentivizing it. Because the Guidelines fail to account for this, Mr. Garbin submits that a

variance is appropriate.

       Several courts have held that a Judge may depart from the guidelines in order to enable a

defendant to be eligible for a program, such as boot camp, counseling, or other rehabilitative

programs.4 If a court can depart from the guidelines in order to give a defendant boot camp or the



4 United States v. Jones, 158 F.3d 492 (10th Cir. 1998); United States v. Martin, 827 F.Supp. 232


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drug program, then there is no reason why this Court cannot do so to keep him safe by avoiding a

USP, or because he is ineligible for substantive programing such as RDAP.

III.   Mr. Garbin's completely clean criminal record is deserving of a variance because this
       is his first arrest and conviction.

       Mr. Garbin is a true first-time offender, with no prior criminal history – even for arrests.

He has lived an entirely responsible life, becoming a productive and responsible adult in his early

20’s – finishing trade school, becoming certified as an airplane mechanic, being employed as an

airline mechanic, working hard, owning a home/property, and being a productive member of his

family and the community – all before the age of 25. Mr. Garbin also enjoins the strong support

of both family and friends5, and these charges certainly represent aberrant behavior. The attached

letters of support paint the picture of an extraordinary young man – loyal, devoted, and successful.

There is no evidence Mr. Garbin ever previously engaged in any criminal activity, let alone

something as serious as his instant count of conviction.

       While a lack of criminal history is de facto taken into account (to some extent) by the

guidelines, there is a significant difference between a person with a criminal history category of I,

and a person, such as Mr. Garbin, with no prior arrests or convictions at all.

       To start with, 28 U.S.C. § 994(j) charges the Sentencing Commission with "insur[ing] that

the guidelines reflect the general appropriateness of imposing a sentence other than imprisonment

in cases in which the defendant is a first offender who has not been convicted of a crime of violence

or an otherwise serious offense[.]"



(S.D.N.Y. 1993) (district court departed downward to enable defendant to be eligible for boot
camp); cf. United States v. Duran, 37 F.3d 557, 560-61 & n. 3 (9th Cir. 1994) (receive fullest
possible benefit under prison drug abuse program).

5 See the numerous letters of support, attached as part of the attachments to Mr. Garbin's
Sentencing Memorandum.


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        In United States v. Autery, 555 F.3d 864 (9th Cir. 2009), the Ninth Circuit found that a

district court’s sua sponte variance to probation in a child pornography case with guidelines of 41

– 51 months was not unreasonable, in part, because defendant’s first conviction “did not fully

account for his complete lack of criminal history” since a defendant with minor criminal history

may still fall in criminal history category I.

        Likewise, in United States v. Huckins, 529 F.3d 1312 (10th Cir. 2008), the Tenth Circuit

upheld a variance to 24 months in a child porn case with guidelines 78 - 97 months. The court

reasoned that this was the defendant’s first conviction, and rejected the government’s argument

that the guidelines already considered this by placing defendant in criminal history category I:

           . . . although the Guidelines discourage granting a downward departure based
           upon criminal history when the defendant has been placed in a criminal
           history category of I... this is a not a departure case, it is a variance case....
           and, after Gall and Kimbrough, a factor’s disfavor by the Guidelines no
           longer excludes it from consideration under § 3553(a).... Therefore, a district
           court may weigh a defendant’s lack of a criminal record, even when the
           defendant has been placed into a criminal history category of I, in its §
           3553(a) analysis.

        In fact, the Sentencing Commission’s own research suggests that proper application of

3553(a) in the case of a "true" first offender now strongly supports a below-guideline variance

because of 3553(a)(2)(C) and 3553(a)(6). As Professor Berman points out in his sentencing blog,

these factors are only properly acknowledged if and when a "true" first offender gets a lower

sentence than the advisory range suggested for all the other persons with some criminal history

that are lumped into Criminal History Category I.            See Sentencing Commission’s report,

Recidivism       and       the     "First        Offender"     (May       2004),       available   at

http://www.ussc.gov/publicat/Recidivism_FirstOffender.pdf, which notes that:

           The analysis [of empirical data on re-offending] delineates recidivism risk for
           offenders with minimal prior criminal history and shows that the risk is
           lowest for offenders with the least experience in the criminal justice system.



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          Offenders with zero criminal history points have lower recidivism rates than
          offenders with one or more criminal history points. Even among offenders
          with zero criminal history points, offenders who have never been arrested
          have the lowest recidivism risk of all.6

IV.    Dr. Abramsky's Report and Mr. Garbin's Sentencing Mitigation Video demonstrate
       that, because Mr. Garbin overcame years of physical and verbal abuse at the hands
       of his biological father to become a certified aviation mechanic at a young age, work
       full-time, earn good money, and use his talents and skills for a positive purpose, he is
       deserving of a downward variance.

       Mr. Garbin’s behavior is mitigated to some extent by his extraordinarily difficult childhood

and his positive accomplishments since then. As chronicled in the Presentence Report (PSR), Dr.

Abramsky's Report, and Mr. Garbin's Sentencing Mitigation Video, Mr. Garbin had a very difficult

childhood. His father was an alcoholic, or a ‘heavy drinker” as Mr. Garbin explained in the PSR.

His parents fought all the time, until his mother ultimately left his father and they divorced when

Mr. Garbin was around 10. Mr. Garbin attempted to avoid his father, their relationship was

“strained,” he was in and out of his life for about 5 years, and he has had no contact with his father

in over 10 years.

       Despite these difficulties, Mr. Garbin managed to overcome these obstacles and

accomplish many of the positive achievements noted above. Mr. Garbin’s personal background

and childhood have had a profound impact on his involvement in this case. See argument in

paragraph V below. And it makes the path he was on as a young adult even more impressive. This

Court should take this into account when sentencing Mr. Garbin. A troubled upbringing and



6 United States v. Duane, 533 F.3d 441 (6th Cir. 2008) ([T]he district court did not respond to
Duane’s first argument — that he deserved a more lenient sentence because he had zero criminal
history points. This was not a particularly strong argument given that Duane’s criminal history
category was taken into account in determining his Guidelines range. But the argument was not
completely frivolous. Because Duane had zero points at age 57, he might plausibly argue that
even category I — which applies when a defendant has zero or one criminal history point(s) —
overstated his criminal history to some degree.”).



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domestic violence as a child can be considered by this Court at sentencing. See United States v.

Lopez, 938 F.2d 1293, 1298 (D.C. Cir. 1991). “Children who are abused in their youth generally

face extraordinary problems developing into responsible, productive citizens.” Santosky v.

Kramer, 455 U.S. 745, 789 (1982); see also U.S. v. Deigert, 916 F.2d 916, 918-19 (4th Cir. 1990);

Penry v. Lynaugh, 492 U.S. 302, 319 (1989) (Rehnquist, J., dissenting) (evidence about the

defendant's background is relevant because of the belief "long held by this society, that the

defendants who commit criminal acts that are attributable to a disadvantaged background or to

emotional or mental problems may be less culpable than defendants who have no such excuse.").7

V.     Mr. Garbin was particularly vulnerable to becoming involved in extremism, which
       mitigates to some extent his participation in the instant offense.

       Because, based on the physical and verbal abuse Mr. Garbin endured in his formative years,

Mr. Garbin was more likely to engage in extremism to mask his true feelings of vulnerability and

fear, Mr. Garbin is, to an extent, less morally blameworthy than a defendant free from such abuse.

Dr. Abramsky's Report, the Report from Parents for Peace, and the Sentencing Mitigation Video

are compelling evidence of this psychological phenomenon. Therefore, some adjustment is

necessary to Mr. Garbin's sentence to account for this particular circumstance in Mr. Garbin's life.




7 Note: while the Guidelines eliminated this ground in §5K2.0 (d)(1), Booker has given it new life.
See also United States v. Floyd, 945 F.2d 1096 (9th Cir. 1991), overruled on other grounds, United
States v. Atkinson, 990 F.2d 501 (9th Cir. 1993) (affirming a departure in a drug case from a
guideline range of 30 years to life to 17 years because of defendant’s abandonment by his parents
and lack of guidance as a youth).



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VI.    The fact that Mr. Garbin has already engaged in and is committed to completing
       deradicalization treatment with Parents for Peace and is eager to help deradicalize
       others involved in extremism at the conclusion of this case is evidence of
       extraordinary post-offense rehabilitation.

       After Mr. Garbin got involved in a kidnaping plot that has garnered national attention, he

has taken his rehabilitation extremely seriously and has engaged in some ground-breaking

deradicalization treatment that holds the promise of deradicalizing others, as the Report from

Parents for Peace indicates. It is also amazing that a person, like Mr. Garbin, who undoubtedly has

hit rock bottom in their life also holds a promising key to helping others deradicalize, and in so

doing, reduce extremism in the United States. Based on this post-offense rehabilitation, Mr. Garbin

is deserving of a downward variance. Gall v. United States, 128 S.Ct. 586, 593, 599 (2007).

                                        CONCLUSION

       For all of the forgoing reasons, Mr. Garbin respectfully requests that the Court sentence

him to sentence well below the advisory guideline range.

                                             Respectfully submitted,


Dated: 08/19/2020                            /s/ Gary K. Springstead
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